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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


United States of America,
                                              Criminal No. 11-cr-20129
      Plaintiff,
                                              Honorable Robert H. Cleland
v.

D-6 Paul Anthony Darrah,

      Defendant.


                            ORDER OF DISMISSAL


      For the reasons stated in the government’s motion for leave to dismiss Count

25 of the Third Superseding Indictment as to defendant D-6 Paul Anthony Darrah

is granted, and that Count 25 is hereby dismissed as to this particular defendant.




                                              s/Robert H. Cleland
                                              Hon. Robert H. Cleland
                                              United States District Judge

Entered: September 25, 2014
